Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 1 of 48

APPENDIX 1
Soil Boring Logs
Project: Wickes Forest Industries
Location: Elmirafease 2:14-Cv-00595-WBS-J py oject NamBeRAT 7535956 2

Log of Boring:
Filed 08/21/19 PagB-2 of 48

Dates Drilled: 4/17/2008 Total Depth: 3 feet

Borehole Name:

Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date:

Logged By: Scott Lookingbill

Borehole Diameter: 2 inch

Checked By:

Drilling Method: Geoprobe

Sampling Method: Geoprobe

Comments: Comments

BOREHOLE ABANDONMENT

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Shotcrete
+) Sandy Silt, light brown, soft, wet
Silty clay, dark brown, high plasticity, firm, moist,
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cA
Bentonite-cement grout

YY tremmied from 5 feet to
Yy surface

2870 Gateway Oaks Dr., Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries
Location: Elmira(@ase 2:14-Cv-00595-WBS- J Piojeck MumbePT 7325056 2

Log of Boring:
Filed 08/21/18 PagB-2 of 48

Dates Drilled: 4/17/2008

Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling

Borehole Abandonment Date: 4/17/2008

Logged By: Scott Lookingbill

Borehole Diameter: 2 inch

Checked By:

Drilling Method: Geoprobe

Sampling Method: Geoprobe

Comments:
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Shoterete
Sandy Silt, light brown, soft, green stain, wet
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T Bentonite-cement grout T
. : ts . tremmied from 5 feet to
Se Silty clay, dark brown, high plasticity, firm, moist, surface
s~ +5

2870 Gateway Oaks Dr., Ste 300
Sacramento, CA 95833
916-679-2000

Project:: Wickes Forest Industries
Location: Elmira(ease 2:14-Cv-00595-WBS-JpijecE Name A baboSs 2

Log of Boring:
Filed 08/21/19. Pagp-& of 48

Dates Drilled: 4/17/2008

Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling

Borehole Abandonment Date: 4/17/2008

Logged By: Scott Lookingbill

Borehole Diameter: 2 inch

Checked By:

Drilling Method: Geoprobe

Sampling Method: Geoprobe

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916-679-2000

Comments:
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Shoterete
Sandy Silt, light yellow brown, trace gravel, soft, wet
a Silty clay, dark brown, high plasticity, firm, moist.
T Bentonite-cement grout T
tremmied from 3 feet to
surface
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hy
5 ——5

Project: Wickes Forest Industries Log of Boring:
Location: Elmira(@ase 2:14-Cv-00595-WBS-JPiijeck MamweRci7s25056 2 | Filed 08/21/19 PagB-4 of 48

Dates Drilled; 4/17/2008 Total Depth: 5 feet
Drilling Contractor; Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch Checked By:
Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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e ma B LITHOLOGY DESCRIPTION BOREHOLE ABANDONMENT

Oo
Shotcrete
Gravelly Silt, light yellaw brown, minor fine sand, yellow stain,
loose, moist
| Silty clay, brown, high plasticity, firm, moist.

7 Bentonite-cement grout
tremmied from 5 feet to
surface

5—L

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Project: Wickes Forest Industries
Location: Elmira(€@SC 2:14-CV-00595-WBS- J Pipi cel AUGER abOs 2

of Boring:

Lo
Filed 08/21/19 PagB-§ of 48

Dates Drilled: 4/17/2008

Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling

Borehole Abandonment Date: 4/17/2008

Logged By: Scott Lockingbill

Borehole Diameter: 2 inch

Checked By:

Drilling Method: Geoprabe

Sampling Method: Geoprobe

Comments:
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z a om a oF 0 LITHOLOGY DESCRIPTION BOREHOLE ABANDONMENT
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| Shoterete over concrete slab
Gravelly Silt, light yellow brown, loose, maist
‘ Silty clay, brown, high plasticity, firm, moist,
T Bentonite-cement grout T
tremmied from 5 feet to
surface
5 5

2870 Gateway Oaks Dr,, Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:
Location: Elmira(@ea@se 2:14-cv-00595-WBS-J PRieckAaaWweRAys2b9&-2| Filed 08/21/19 Pagp-6 of 48
Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilting Contractor; Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lockingbill
Borehole Diameter: 2 inch Checked By:
Drilling Methed: Geoprobe Sampling Method: Geoprobe
Comments:
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2 aor Bo Qo LITHOLOGY DESCRIPTION BOREHOLE ABANDONMENT
Oo __o
Shoterete over concrete slab
Silty Clay, yellow brown, trace gravel, stiff, moist Y
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a Fr 4
YZ
Silty clay, brown, high plasticity, stiff, moist.
T Bentonite-cement grout T
EN tremmied from 5 feet to
Ee surface
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, Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:
Location: Elmira@ase 2:14-Cv-00595-WBS-J PR ecLNAaGUEneyb8%2| Filed 08/21/1 Pagp-f of 48

Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch Checked By:
Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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a “am me LITHOLOGY DESCRIPTION BOREHOLE ABANDONMENT
CG _o
Shoterete
Sandy Gravel, gray, cobbles to 1", subrounded, loose, damp.
Silty clay, dark brown, high plasticity, stiff, moist.
Decreasing silt content.
T Bentonite-cement grout
tremmied from 5 feet to
surface
—5

2876 Gateway Oaks Dr., Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:

Location: Elmira(@ase 2:14-Cv-00595-WBS-J pieced AMBER aAIESR-2| Filed 08/21/ PagB-§ of 48
Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill

Borehole Diameter: 2 inch Checked By:

Sampling Method: Geoprobe

Drilling Method: Geoprobe

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Sacramento, CA 95833
916-679-2000

Comments:
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Shoterete
Sandy Gravel, gray, cobbles to 1", subrounded, loose, damp,
) Silty clay, dark brown, high plasticity, stiff, moist.
T } Decreasing silt content. 4 Bentonite-cement grout Ty
¥ tremmied from 4 feet to
Bg surface
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Project: Wickes Forest Industries
Location: Elmirf,€SC 2:14-cv-00595-WBS-J ppojeoMGhbere 173289862

Log of Boring:

Filed 08/21/19 Pagé34® of 48

Dates Drilled: 4/17/2008

Total Depth: 3 feet

Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008

Logged By: Scott Lookingbill

Borehole Diameter: 2 inch

Checked By:

Drilling Method: Geoprobe

Sampling Method: Geoprobe

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Sacramento, CA 95833
916-679-2000

Comments:
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Shoterete
Sandy Gravel, gray, cobbles to 1", subrounded, loose, damp.
B Silty clay, dark brown, high plasticity, stiff, moist.
. Decreasing silt content.
T Bentonite-cement grout T
tremmied from 3 feet to
surface
5 +5

Project: Wickes Forest Industries Log of Boring:
Location: Elmirf2@8C 2:14-Ccv-00595-WBS-J DirojedoSGubae its2Se2 | Filed 08/21/19 Pagddilidof 48

Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch Checked By:
Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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Shotcrete

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Sandy Gravel, gray, cobbles to 1", subrounded, [oase, damp.

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Sstiase Cis]

Silty clay, dark brown, high plasticity, stiff, moist.

Decreasing silt content.

§ Bentonite-cement grout
, tremmied from 3 feet to
G4, surface

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Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries
Location: Elmird -QSC 2:14-Ccv-00595-WBS-J QR oj ede M Gbel? 9432852

Log of Boring:
Filed 08/21/1 Pagasifi of 48

Dates Drilled: 4/17/2008

Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling

Borehole Abandonment Date: 4/17/2008

Logged By: Scott Lookingbill

Borehole Diameter: 2 inch

Checked By:

Drilling Method: Geoprobe

Sampling Method: Geoprobe

Comments:
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Shotcrete
y4| Silty Gravel, yellow brown, minar cobbles to 1", loose, damp.
Silty clay, dark brown, high plasticity, stiff, moist,
T Bentonite-cement grout
tremmied from 5 feet to
surface
5—— —5

2870 Gateway Oaks Dr,, Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Lo of Boring:
Location: Elmird-@8C 2:14-cv-00595-WBS-J BP jelONGHbne 94328862 | Filed 08/21/19 Pag@dof 48

Dates Drilled: 4/17/2008 Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling {| Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill

Borehole Diameter: 2 inch Checked By:

Drilling Method: Geoprobe Sampling Method: Geoprobe

Comments:
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Shoterete
j Sandy Silt, yellow brown, trace gravel, cohesive, moist to wet
} Silty Clay, brown, high plasticity, stiff, moist.
T Bentonite-cement grout T
tremmied from 5 feet to
surface
5 Ls

2870 Gateway Oaks Dr, Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:
Location: Elmir4O8E 2:14-Cv-00595-WBS-JQRojele MME 193258952 Filed 08/21/1 Pagal of 48
‘| Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch Checked By:
Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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Shotcrete over concrete slab

S Silty Clay, brown, high plasticity, stiff, moist.

Bentonite-cement grout
tremmied from 5 feet to
surface

2870 Gateway Gaks Dr,, Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:
Location: Elmir4,@8C 2:14-Cv-00595-WBS-JDojedo Mabe? 17328862 | Filed 08/21/19 Pag@®dksof 48

Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch Checked By:
Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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O__ _ 9
Silty Gravel, dark brown, cobbles to 2”, firm, damp.
Silty Clay, dark brown, med. plasticity, stiff, moist. Beatonite-cement gn ou
surface
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2870 Gateway Ouks Dr., Ste 300
: Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:
Location: Elmir&€8€ 2:14-cv-00595-WBS-JQR je QGHOACHbSRe2 | Filed 08/21/19 Pagasdéof 48
Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor; Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch . Checked By:
Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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Concrete Stab
Sandy Gravel, brown, cobbles to 2", subrounded firm, damp.
Silty Clay, dark brown, high plasticity, stiff, moist. Bentonite-< een a
surface
5—— 5

2370 Gateway Oaks Dr., Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries
Location: Elmird,@8C 2:14-CV-00595-WBS-JOipojelo Sanibel? 17325362

Log of Boring:

Filed 08/21/19 Pagébdi/7of 48

Dates Drilled: 4/17/2008 Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008

Logged By: Scott Lookingbill

Borehole

Diameter: 2 inch

Checked By:

Drilling Methad: Geoprobe

Sampling Method: Geoprobe

2870 Gateway Oaks Dr., Ste 300
Sacramento, CA 95833
916-679-2000

Comments:
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Concrete Slab
Silty Gravel, brown, minor cobbles to 1", hard, moist
Silty Clay, dark brown, high plasticity, stiff, moist,
T Bentonite-cement grout T
tremmied from 5 feet to
surface
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Project: Wickes Forest Industries
Location: Elmird GSC 2:14-CV-00595-WBS-JBR jel QGHbEe 943b8952

Log of Boring:
Filed 08/21/19 Pagepiggot 48

Dates Drilled: 4/17/2008

Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling

Borehole Abandonment Date: 4/17/2008

Logged By: Scott Lookingbill

Borehole Diameter: 2 inch

Checked By:

Drilling Method: Geoprobe

Sampling Method: Geoprobe

Comments:
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eS wa ao 9 LITHOLOGY DESCRIPTION BOREHOLE ABANDONMENT
oO __O
Silty Gravel, dark brown, cobbles to 2", subrounded firm, damp.
Silty Clay, dark brown, high plasticity, stiff, moist. eee pament grout
surface
5—L. +5

2870 Gateway Oaks Dr., Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log o
Location: Elmird-@8C 2:14-Ccv-00595-WBS-J BP jedPRmhbhle B3b50862 | Filed 08/21/19 Pageipof 48

f Boring:

Dates Drilled: 4/17/2008

Total Depth: 5 feet

Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill

Borehole Diameter; 2 inch

Checked By:

Drilling Methed: Geoprobe

Sampling Method: Geoprobe

Comments:
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Silty Gravel, light brown, cobbles to 1", cohesive, damp. Y
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si Silty Clay, dark brown, high plasticity, firm, damp-moist.
Ty Bentonite-cement grout +,
tremmied from 5 feet to
surface
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2870 Gateway Oaks Dr., Ste 300
Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:
Location: Elmird, QS 2:14-Cv-00595-WBS-J BP ic Q Gibbs 94344852 | Filed 08/21/19 Pageayof 48

Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor: Enprob Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch Checked By:
Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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Silty Gravel, yellow brown, minor clay, 50% gravel.

§ Bentonite-cement grout
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4 surface

‘ Silty Clay, dark brown, high plasticity, firm, damp-moist.

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Sacramento, CA 95833
916-679-2000

Project: Wickes Forest Industries Log of Boring:
Location: Elmirdp@8C_ 2:14-Cv-00595-WBS-JOP ied PRGHBEE 943580952 | Filed 08/21/19 Pagggapof 48
Dates Drilled: 4/17/2008 Total Depth: 5 feet
Drilling Contractor: Enpreb Environmental Sampling | Borehole Abandonment Date: 4/17/2008 Logged By: Scott Lookingbill
Borehole Diameter: 2 inch Checked By:

Drilling Method: Geoprobe Sampling Method: Geoprobe
Comments:
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0 0

Silty Gravel, yellow brown, minor cobbles to 2", cohesive, moist

Bentonite-cement grout
tremmied from 5 feet to
surface

Sand, yellow brown, well graded, fine to course grained, loase,
damp

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916-679-2000

Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 22 of 48

APPENDIX 2
Laboratory Analytical Report
Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 23 of 48

< Curtis & Tornpkins, Lid.

Lab #: 202696 Location: | Wickes Forest Ind.

Client: URS Corporation Prep: EPA 30508

Project#: STANDARD Analysis: EPA 6010B

Analyte: Arsenic Sampled: 04/17/08

Matrix: Soil Received: 04/18/08

Units: mg/Kg Prepared: 04/24/08

Basis: as received

SRLS ID eet ype) Lab ID. Result 22% ateh# analyz
B-1-2.5 SAMPLE 202696-001 550 137387 04/25/08
B-1-5 SAMPLE 202696-002 6.7 1 137387 04/25/08
B-2-2.5 SAMPLE 202696-003 35 1 137387 04/25/08
B-2-5 SAMPLE 202696-004 5.9 1 137387 04/25/08
B-3-2.5 SAMPLE 20269'6-005 6.3 0.25 1.000 137387 04/25/08
B-3-5 SAMPLE 202696-006 12 0.25 1.000 137387 04/25/08
B-4-2.5 SAMPLE 202696-007 6.5 0.25 1.000 137387 04/25/08
B-4-5 SAMPLE 202696-008 4.7 0.25 1.000 137387 04/25/08
B-5-2.5 SAMPLE 202696-009 150 0.25 1.000 137387 04/25/08
B-5-5 SAMPLE 202696-010 260 0.25 1.000 137387 04/25/08
B-6-2.5. SAMPLE 202696-011 27 0.25 1.000 137387 04/25/08
B-6-5 SAMPLE 202696-012 13 0.25 1.000 137387 04/25/08
B-7-2.5 SAMPLE 202696-013 6.5 0.25 1.000 137387 04/25/08
B-7-5 SAMPLE 202696-014 4.7 0.25 1.000 137387 04/25/08
B-8-2.5 SAMPLE 202696-015 170 0.25 1.000 137387 04/25/08
B-8-5 SAMPLE 202696-016 9.8 0.25 1.000 137387 04/25/08
B-8D-2.5 SAMPLE 202696-017 110 0.25 1.000 137387 04/25/08
B-8D-5 SAMPLE 202696-018 28 0.25 1.000 137387 04/25/08
B-9-2.5 SAMPLE 202696-019 7.1 0.25 1.000 137387 04/25/08
B-93-5 SAMPLE 202696-020 4.9 0.25 1.000 137387 04/25/08
B-10-2,5 SAMPLE 202696-021 6.8 0.28 1.000 137388 04/25/08
B-10-5 SAMPLE 202696-022 5.4 0.26 1.006 137388 04/25/08
B-31-2.5 SAMPLE 202696-023 190 0.27 1.000 137388 04/25/08
B-il-5 SAMPLE 202696-024 6.7 0.28 1.000 137388 04/25/08
B-12-2.5 SAMPLE 202696-025 7.3 0.27 1.000 137388 04/25/08
B-12-5 SAMPLE 202696-026 5.9 0.27 1.000 137388 04/25/08
B-12-0.5 SAMPLE 202696-027 62 0.29 1.006 337388 04/25/08
B-14-0.5 SAMPLE 202696-028 55 0.28 1.000 137388 04/25/08
B-14-2.5 SAMPLE 202696-029 110 0.26 1.000 137388 04/25/08
B-14-5 SAMPLE 202696-030 & 8.3 0.27 1.9000 137388 04/25/08
B-15-0.5 SAMPLE 202696-031 610 2.7 10.60 137388 04/25/08
B-15-2.5 SAMPLE 202696-032 350 0.28 1.000 137388 04/25/08
B-15-5 SAMPLE 202696-033 13 0.27 1.9060 137388 04/25/08
B-16-2.5 SAMPLE 202696-034 8.5 0.26 1.000 137388 04/25/08
B-16-5 SAMPLE 202696-035 6.4 0.26 1.000 137388 04/25/08
B-17-0.5 SAMPLE 202696-036 190 0.27 1.000 137388 04/25/08
B-17-2.5 SAMPLE 202696-037 10 0.27 1.6090 137388 04/25/08
B-17-5 SAMPLE 202696-038 7.7 0.26 1.000 137388 04/25/08

ND= Not Detected
RL= Reporting Limit
Page 1 of 2 2.0
Case 2:14-cv-00595-WBS-JDP

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Cc

Curtis & Tompkins, Ltd.

Lab #: 202696 Location: Wickes Forest Ind. _
Client: URS Corporation Prep: EPA 30508
Project#: STANDARD Analysis: EPA 60108
Analyte: Arsenic Sampled: 04/17/08
Matrix: Soil Received: 04/18/08
Units: mg/Kg Prepared: 04/24/08
Basis: as received
= SeField Ip qhab ID (a Result... Ss Ls -Ditn.: tch# “Analyzed si)
B-16D-2.5 SAMPLE 202696-039 8.4 0.27 1.000 137388 04/25/08
B-18-0.5 SAMPLE 202696-040 240 0.26 1.000 137388 04/25/08
B-18-2.5 SAMPLE 202696-041 8.5 0.26 1.000 137389 04/25/08
B-18-5 SAMPLE 202696-042 7.4 0.29 1.000 137389 04/25/08
B-20-0.5 SAMPLE 202696-043 6.2 0.29 1.000 137389 04/25/08
B-20-2.5 SAMPLE 202696-044 5.8 0.29 1.9000 137389 04/25/08
B-20-5 SAMPLE 202696-045 7.5 0.27 1.000 137389 04/25/08
B-21-0.5 SAMPLE 202696-046 21 0.27 1.000 137389 04/25/08
B+21-2.5 SAMPLE 202696-047 14 0.26 1.000 137389 04/25/08
B-21-5 SAMPLE 202696-048 6.9 0.247 1.9000 137389 04/25/08
B-21D-2.5 SAMPLE 202696-049 13 0.26 1.000 137389 04/25/08
B-21D-5 SAMPLE 202696-0506 7.4 0.26 1.000 337389 04/25/08
B-22-0.5 SAMPLE 202696-051 67 0.28 1.000 137389 04/25/08
B-22-2.5 SAMPLE 202696-052 17 0.27 1.000 137389 04/25/08
B-22-5 SAMPLE 202696-053 25 0.28 1.000 4137389 04/25/08
BLANK QC438750 ND 0.25 1.000 4137387 04/24/08
BLANK 0C438755 ND 0.29 1.000 137388 04/25/08
BLANK 0C438760 ND 0.29 1.000 137389 04/25/08
ND= Not Detected
RL= Reporting Limit
Page 2 of 2 2.0
Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 25 of 48

Batch OC Report

Ci Curtis & Tornpkins, Lid.

: : ee, 2 Lee e ee

Lab #: 202696 Location: Wickes Forest Ind.

Client: URS Corporation Prep: EPA 3050B

Project#: STANDARD Analysis: EPA 6010B

Analyte: Arsenic Sampled: 04/17/08

Matrix: Soil Received: 04/18/08

Units: mg/Kg Prepared: 04/24/08

Basis: as received Analyzed: 04/25/08

Diin Fac: 1.000

“Fiéld IDE Type MSS@tab 1D. 9 iMSS “Resullty Spiked. “Re
BS QC438751 ~ 50.00 49.23 137387
BSD QC438752 50.00 49.06 38 80-120 0 20 137387

B-1-2.5 MS 202696-001 00438753 555.0 45.87 566.6 »>LR 25 NM 71-120 137387

B-1-2.5 MSD 202696-001 Q0C438754 45.45 512.1 2LR -94 NM 71-120 NC 20 137387
BS 0C438756 50.00 43.28 87 80-120 137388
BSD OC438757 50.00 46.22 92 80-120 7 20 137388

B-10-2.5 MS 202696-021 QC438758 6.812 49.02 47.81 84 71-120 137388

B-10-2.5 MSD 202696-021 0C438759 47.17 47.76 87 71-120 3 20 137388
BS OC438761 50.00 49.08 98 80-120 137389
BSD QC438762 50.00 45.92 92 80-120 7 20 137389

B-18-2.5 Ms 202696-041 0C438763 8.465 46.73 48.71 86 71-129 137389

B-18-2.5 MSD 202696-041 0C438764 46.30 46.81 83 71-129 3 20 137389

NC= Not Calculated

:

RPD= Relative Percent Difference

Page 1 of 1

Not Meaningful: Sample concentration > 4X spike concentration
>LR= Response exceeds instrument's linear range
Case 2:14-cv-00595-WBS-JDP

Lab #:

Location:

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Cc

Curtis & Tornpkins. Ltd.

202696 Wickes Forest Ind.
Client: URS Corporation Prep: EPA 3050B
Project#: STANDARD Analysis: EPA 6010B
Analyte: Chromium Sampled: 04/17/08
Matrix Soil Received: 04/18/08
Units mg/Kg Prepared: 04/24/08
Basis as received
ie Piel ‘Type 2) bab yiD Ech# analyzed: o|
B-1+2.5 SAMPLE 202696-002 137387 04/25/08
B-1-5 SAMPLE 202696-002 . 137387 04/25/08
B-2-2.5 SAMPLE 202696-003 1. 137387 04/25/08
B-2-5 SAMPLE 202696-004 1. 137387 04/25/08
B-3+2.5 SAMPLE 202696-005 250 0.25 1.000 137387 04/25/08
B-3-5 SAMPLE 202696-006 94 0.25 1.000 137387 04/25/08
B-4-2.5 SAMPLE 202696-007 24 0.25 1.000 137387 04/25/08
B-4-5 SAMPLE 202696-068 20 0.25 1.000 137387 04/25/08
B-5-2.5 SAMPLE 202696-009 230 0.25 1.9000 137387 04/25/08
B-5-5 SAMPLE 202696-010 280 0.25 1.000 137387 04/25/08
B-6-2.5 SAMPLE 202696-011 88 0.25 1.9000 137387 04/25/08
B-6-5 SAMPLE 202696-012 63 0.25 1.000 137387 04/25/08
B-7-2.5 SAMPLE 202696-013 360 0.25 1.000 137387 04/25/08
B-7+5 SAMPLE 202696-014 160 0.25 1.000 137387 04/25/08
B-8-2.5 SAMPLE 202696-015 380 0.25 1.000 137387 04/25/08
B-8-5 SAMPLE 202696-016 210 0.25 1.000 137387 04/25/08
B-8D-2.5 SAMPLE 202696-017 380 0.25 1.000 1327387 04/25/08
B-8D-5 SAMPLE 202696-0618 190 0.25 1.000 137387 04/25/08
B-9-2.5 SAMPLE 202696-019 78 0.25 1.000 137387 04/25/08
B-9-5 SAMPLE 202696-020 26 0.25 1.000 137387 04/25/08
B-10-2.5 SAMPLE 202696-021 180 0.25 1.000 137388 04/25/08
B-10-5 SAMPLE 202696-022 38 0.25 1.000 127388 04/25/08
B-21-2.5 SAMPLE 202696-023 130 0.25 1.000 137388 04/25/08
B-11-5 SAMPLE 202696-024 18 0.25 1.000 137388 04/25/08
B-12-2.5 SAMPLE 202696-025 200 0.25 1.000 137388 04/25/08
B-12-5 SAMPLE 202696-026 23 0.25 1.0090 137388 04/25/08
B-12-0.5 SAMPLE 202696-027 100 0.25 1.000 137388 04/25/08
B-14-0.5 SAMPLE 202696-028 230 0.25 1.000 137388 04/25/08
B-14-2.5 SAMPLE 202696-029 340 °0.25 1.000 137388 04/25/08
B+14-5 SAMPLE 202696-0306 73 0.25 1.000 137388 04/25/08
B-15-0.5 SAMPLE 202696-031 540 2.4 10.00 137388 04/25/08
B-15-2.5 SAMPLE 202696-032 350 0.25 1.006 137388 04/25/08
B-15-5 SAMPLE 202696-033 27 0.25 1.000 137388 04/25/08
B-16-2.5 SAMPLE 202696-034 25 0.25 1.000 137388 04/25/08
B-16-5 SAMPLE 202696-035 21 0.25 1.9000 137388 04/25/08
B-17-0.5 SAMPLE 202696-036 190 0.25 1.9006 137388 04/25/08
B-17-2.5 SAMPLE 202696-037 26 0.25 1.006 137388 04/25/08
B-17-5 SAMPLE 202696-638 24 0.25 1,006 137388 04/25/08

ND=

Not Detected

RL= Reporting Limit

Page 1 of 2
Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 27 of 48

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“Lab #:

202696

Curtis & Tompkins, Lid.

Location:

Wickes Forest Ind.

Client: URS Corporation Prep: EPA 3050B

Project#: STANDARD Analysis: EPA 6010B

Analyte: Chromium Sampled: 04/17/08

Matrix: Soil Received: 04/18/08

Units: mg/Kg Prepared: 04/24/08

Basis: as received

he ult. : “Dailne cht. Analyze

SAMPLE 202696-039 24 0.25 1.000 137388 04/25/08
SAMPLE 202696-040 200 0.25 1.000 137388 04/25/08
SAMPLE 202696-041 150 0.25 1.000 137389 04/25/08
SAMPLE 202696-042 3406 0.25 1.600 137389 04/25/08
SAMPLE 202696-043 48 0.25 1.6000 137389 04/25/08
SAMPLE 202696-044 69 0.25 1.0600 137389 04/25/68
SAMPLE 202696-045 25 0.25 1.600 137389 04/25/08
SAMPLE 202696-046 58 0.25 1.000 137389 04/25/08
SAMPLE 202696-047 96 0.25 1.000 137389 04/28/08
SAMPLE 202696-048 26 0.25 1.600 437389 04/25/08
SAMPLE 202696-049 a1 0.25 1.600 137389 04/25/08
SAMPLE 202696-050 25 0.25 1.000 137389 04/25/08
SAMPLE 202696-051 150 0.25 1.000 137389 04/25/08
SAMPLE 202696-052 60 0.25 1.060 137389 04/25/08
SAMPLE 202696-053 32 0.25 1.900 137389 04/25/08
BLANK Q0C438750 ND 0.25 1.000 437387 04/24/08
BLANK QC438755 ND 0.25 1.0600 137388 04/25/08
BLANK QC438760 ND 0.25 1.000 137389 04/25/08

ND= Not Detected
RL= Reporting Limit

Page 2 of 2

Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 28 of 48

< Curtis & Tompkins. Lid,

Batch QC Report

Lab #: 202696 Location: Wickes Forest Ind.

Client: URS Corporation Prep: EPA 3050B

Project#: STANDARD Analysis: EPA 6010B

Analyte: Chromium Sampled: 04/17/08

Matrix: Soil Received: 04/18/08

Units: mg/Kg Prepared: 04/24/08

Basis: as received Analyzed: 04/25/08

Diln Fac: 1.000

Field Ip@type MSS Lab ID, Lablip @MSS Result. Spiked “Re: im."Batchit:
BS QC438751 700.0 91.41 137387
BSD QC438752 100.0 91.05 137387

B-1-2.5 MS 202696-901 9C438753 538.2 91.74 412.0 137387

B-1-2.5 MSD 202696-001 QC438754 90.91 563.4 >LR 50 NM 65-120 NC 20 137387
BS OC438756 100.0 865.92 86 80-120 137388
BSD QC438757 100.0 88.82 89 80-120 3 20 137388

B-10-2.5 MS 202696-021 OC438758 175.4 98.04 273.8 100 65-120 137388

B-10-2.5 MSD 202696-621 Q0C438759 94.34 279.3 110 65-120 3 20 137388
BS OC43B761L 200.0 97.10 97 80-120 137389
BSD QC438762 100.0 90.70 91 80-120 7 29 137389

B-18-2.5 MS 202696-041 0C438763 145.7 93.46 212.7 T2 65-120 137389

B-18-2.5 MSD 202696-041 0C438764 92.59 234.5 96 65-120 10 20 137389

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NC= Not Caiculated

NM= Not Meaningful: Sample concentration >» 4X spike concentration

>LR= Response exceeds instrument's linear range

RPD= Relative Percent Difference

Page i of 1 5.0
Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 29 of 48

Ci Curtis & Tompkins, Lid.

Lab #: 202696 Location: Wickes Forest Ind.

Client: URS Corporation Prep: BPA 3050B

Project#: STANDARD Analysis: EPA 6010B

Analyte: Copper Sampled: 04/17/08

Matrix: Soil Received: 04/18/08

Units: mg/Kg Prepared: 04/24/08

Basis: as received

(eo Fie ab ID Result “Diln'Fac SBateh# Analyzed.
B-2-2.5 202696-001 21 0.25 1.000 137387 04/25/08
B-i-5 202696-002 18 0.25 1.0090 137387 04/25/08
B-2-2.5 202696-003 36 0.25 1.000 137387 04/25/08
B-2-5 202696-004 16 0.25 1.000 137387 04/25/08
B-3-2.5 202696-005 16 0.25 1.000 137387 04/25/08
B-3-5 202696-006 19. 0.25 1.000 137387 04/25/08
B-4-2.5 202696-007 195 0.25 1.000 137387 04/25/08
B-4-5 202696-008 16 0.25 1.0090 137387 04/25/08
B-5-2.5 202696-009 73 0.25 1.000 137387 04/25/08
B-5-5 202696-016 210 0.25 1.000 137387 04/25/08
B-6-2.5 202696-011 53 0.25 1.000 137387 04/25/08
B-6-5 202696-012 27 0.25 1.000 137387 04/25/08
B-7-2.5 SAMPLE 202696-013 18 0.25 1.000 137387 04/25/08
B-7-5 SAMPLE 202696-014 16 0.25 1.000 137387 04/25/08
B-8-2.5 SAMPLE 202696-015 160 0.25 1.000 137387 04/25/08
B-8-5 SAMPLE 202696-016 22 0.25 1.9000 137387 04/25/08
B-8D-2.5 SAMPLE 202696-017 110 0.25 1.000 137387 04/25/08
B-8D-5 SAMPLE 202696-018 40 0.25 1.000 137387 04/25/08
B-9-2.5 SAMPLE 202696-019 24 0.25 1.000 137387 04/25/08
B-$-5 SAMPLE 202696-020 17 0.25 1.000 137387 04/25/08
B-16-2.5 SAMPLE 202696-021 25 0.28 1.000 — 137388 04/25/08
B-10-5 SAMPLE 202696-022 18 0.26 1.000 137388 04/25/08
B-11-2.5 SAMPLE 202696-023 23 0.27 1.000 137388 04/25/08
B-11-5 SAMPLE 202696-024 20 0.28 1.000 137388 04/25/08
B-12-2.5 SAMPLE 202696-025 23 0.27 1.000 137388 04/25/08
B-12-5 SAMPLE 202696-026 ai 0.27 1.000 137388 04/25/08
B-12-0.5 SAMPLE 202696-027 60 0.29 1.000 137388 04/25/08
B-14-0.5 SAMPLE 202696-028 38 0.28 1.000 137388 04/25/08
B-14-2.5 SAMPLE 202696-029 100 0.26 1.000 1372388 04/25/08
B-14-5 SAMPLE 202696-030 13 0.27 1.000 137388 04/25/08
B-15-0.5 SAMPLE 202696-031 659 2.7 10.00 137388 04/25/08
B-15+2.5 SAMPLE 202696-032 3506 0.28 1.0090 137388 04/25/08
B-15-5 SAMPLE 262696-033 28 0.27 1.000 137388 04/25/08
B-16-2.5 SAMPLE 202696-034 24 0.26 1.006 137388 04/25/08
B-16-+5 SAMPLE 202696-035 20 0.26 1.000 137388 04/25/08
B-17-0.5 SAMPLE 202696-036 156 0.27 1.006 137388 04/25/08
B-17-2.5 SAMPLE 202696-037 27 0.27 1.006 137388 04/25/08
B-17-5 SAMPLE 202696-038 23 0.26 1.000 137388 04/25/08

ND= Not Detected
RL= Reporting Limit
Page 1 of 2 6.0
Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 30 of 48

Cc

Curtis & Tornpkins., Lid.

Lab #: 202696 Location Wickes Forest Ind.

Client: URS Corporation Prep: EPA 3050B

Project#: STANDARD Analysis: EPA 6010B

Analyte: Copper Sampled: 04/17/08

Matrix: Soil Received: 04/18/08

Units: mg/Kg Prepared: 04/24/08

Basis: as received

“Fielde ID. & ¢ Bateh# Analyze

B-16D-2.5 . 137388 04/25/08

B-18-0.5 SAMPLE 202696-640 200 0.26 1.000 137388 04/25/08

B-18-2.5 SAMPLE 202696-041 27 0.26 1.000 137389 04/25/08

B-18+-5 SAMPLE 202696-042 23 0.29 1.9000 137389 04/25/08

B-20-0.5 SAMPLE 202696-043 13 0.29 1.060 137389 04/25/08

B-20-2.5 SAMPLE 202696-044 14 0.29 1.000 137389 04/25/08

B-20-5 SAMPLE 202696-045 23 0.27 1.000 137389 04/25/08

Br2l-6.5 SAMPLE 202696-046 38 0.27 1.006 137389 04/25/08

B-21-2.5 SAMPLE 202696-047 29 0.26 1.006 137389 04/25/08

B-21-5 SAMPLE 202696-048 22 0.27 1.006 137389 04/25/08

B-21D-2.5 SAMPLE 202696-049 26 0.26 1.006 137389 04/25/08

B-21D-5 SAMPLE 202696-9050 22 0.26 1.006 137389 04/25/08

B-22-0.5 SAMPLE 202696-9051 48 0.28 1.000 137389 04/25/08

B-22-2.5 SAMPLE 202696-952 29 0.27 1.000 137389 04/25/08

B-22-5 SAMPLE 202696-053 9.5 0.28 1.000 137389 04/25/08
BLANK 0C438750 ND 0.25 1.000 137387 04/24/08
BLANK @C438755 ND 0.29 1.000 137388 04/25/08
BLANK 0C438760 ND 0.29 1.000 137389 04/25/08

ND= Not Detected

RL=

Page 2 of 2

Reporting Limit

Case 2:14-cv-00595-WBS-JDP Document 189-2 Filed 08/21/19 Page 31 of 48

- Ci Curtis & Tompkins, Ltd.

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202696

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Location:

ve, 2 ! ee
Lab #: Wickes Forest

Client: URS Corporation Prep: EPA 3050B
Project#: STANDARD Analysis: EPA 6010B
Analyte: Copper Sampled: 04/17/08
Matrix: Soil Received: 04/18/08
Units: mo/Kg Prepared: 04/24/08
Basis: as received Analyzed: 04/25/08
Diln Fac: 1.000

Type MSS: La Result

WRREC Limite” RPD Lin watenfs

BS QC438751 11.36 91 80-120 137387
BSD QC438752 11.33 91 80-120 0 20 137387
B-1-2.5 MS 202696-001 QC438753 20.79 11.47 30,62 86 42-152 137387
B-1-2.5 MSD 202696-001 0C438754 11.36 30.80 88 42-152 1 23 137387
BS . QC438756 12.50 10.58 385 80-120 137388
BSD QC438757 12.50 11.01 288 80-120 4 20 137388
B-10-2.5 MS 202696-021 QC438758 24.70 12.25 36.59 97 42-152 137388
B-10-2.5 MSD 202696-021 0C438759 11.79 37.09 105 42-152 3 23 137388
BS QC438761 12.50 11.91 95 80-120 1373893
BSD QC438762 12.50 11.04 88 80-120 8 20 137389
B-18-2.5 MS 202696-041 0C438763 26.95 11.68 36.60 8&3 42-152 137389
B-18-2.5 MSD 202696-041 0C438764 11.57 36.89 86 42-152 1 23. 137389

RPD= Relative Percent Difference
Page 1 of 1 7.0
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Curtis & Tompkins.

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8O0/OE/FO OEFST 80/62/70 ET ET BO/LT/F0 SO9LET 000°T dN 8¢0-969¢0¢ WIdNYS G°0-PT-d
80/0€/PO O£:CT 80/62/70 90°60 80/LT/FO SO9LET o00'T an £¢0-969¢0¢ WIdWNWS G°O-¢T-a
BO/OE/PO OEFST 80/62/F0 GP'60 8O/LT/FO 909LET 000°T aN 920-969¢0¢2 FIdnNYS G-eTt-d
BO/0E/PO OE ST 80/62/70 Z2760 SO/LT/FO 9O9LET ooo °T £0°9 $c0-96920¢ WIdWYS G*¢-cl-d
8O/OE/PO O€FST 80/62/70 GP FOT 80/ZT/F0 SO9LET 000°T aN F20-969¢0¢ HIdNYS ¢-TT-d
BO/O0E/PO OFFST 80/6¢/F0 ZELOT BO/LT/FO SO9LET 000°T an €¢0-969c0¢ ZIdWysS G°¢e-TI-d
SO/OE/PO OEFST 80/62/P0 GEFTT BO/LT/PO SO9LET 000°T an €C0-969¢0¢ WIdnWS S-OT-d
SO/OE/PO OFST 80/6c/F0 LEtTT 8O/LT/FO 909LET 000°T 80°a Té0-96920¢2 WIdANYS S*2-OT-d
BO/0E/FO OF'ST 80/6c/FO CETET SO/LT/PO 9O9LET O00 °T aN 0¢c0-96920c¢c WIAWYS €-6-d
B8O0/O£/FO OF'ST 80/62/PO BTFET B8O/LT/PO JOOLET ooo °T 9T°O 6T0-96920¢ AIdWNYSs G*¢-6-ad
BO/OE/PO OFFST 8O/62/FO EZIPT BO/LT/FO JOOLET 000°S 87k 8T0-969¢0¢d ATdWVS €-d3-d
80/0£/FO CEST 80/62/70 90:FT 8C/LT/PO SOSLET 000°T Pre L£T0-969¢0¢c YIdWNys G°¢-d8-d
80/82/PO OF°9T B8O/L2/PO Z2:FT SC/LT/PO EC6PLET 000°S oT 9T0-96920¢ FIdNWS §-8-d
80/82/FO OF:9T 8O/LE/FO GOTT S8C/LT/PO F6RLET 000°T 9°? STO-969¢c0¢ TAINS S°2-8-d
80/82/FO OF°9T 8O/LZ/PO TE260 SO/LT/PO EGPLET 000°T STO PTC-96920¢2 AIdNvSs G-i-d
80/82Z/FO OF:9T BO/LE/FO OF760 SO/LT/PO E6PLET 000 °T Gg €T0-969¢202 WIdNVS ¢°¢-L-d
BO/B2Z/FO OF'ST BO/LZ/FO ECOFET SO/LT/PO E6PLET 000 °T aN €T0-969¢202 AIdNWS G-9-d
80/82/FO Of:9T 80/LC/PO COzET BO/LT/P0 EGPLET 000°T dN TT0-969¢0¢2 WIANVS o°é-9-d
80/82/70 COOL B8O/L2/F70 BZIET BO/LT/FO S6PLET 000°T an OTO-969¢20¢ WIdMNYS S-G-d
80/82/70 O€F9T BO/LZ/FO LZIEL BO/LT/FVO EBPLET o00'°T qn 600-969¢0¢ ZIdNWS GS" ¢-S-
80/82/70 OF:9T BO0/L2/70 ST*60 8O0/LT/F7O C6PLET 000°T aN §00-969¢202 WIdNVS G-P-d
80/82/70 OF9T BO/L2/F0 GT'60 B80/LT/FO C6PLET O00 'T dN £00-969¢0¢ WINES G*é-P-d
80/82/70 OF9T BO/LZ/7O £060 SO/LT/PO CGFRLET 000°T aN 900-969¢0¢ AIdNYS g-€-d
80/82/70 O£-9T B0/L2/F0 20:60 80/LT/F0 COFLET 000°T Lo°O G00-969¢0¢ FIANYS G°¢-f£-d
80/82/70 OF-9T B80/L2/F0 OS760 8O/LT/FO C6RLET 000°T aN POO0-969¢0¢ AIdNY¥S G-¢-d
BO/Se/v0 OF-9T 8O/LZ/bO 8FI60 B8O/LT/PO C6PLET ooo '°T CN £00-969¢0¢ AZIdWws G°¢-¢-d
80/8c/PO OF:9T 80/L2/F0 : BO0/LT/bO E6PRLET 000°T B°S €00-969¢0¢ AIdNWS S-T-d
80/8¢/F0 80/i2/P0 000'T Tt ATINYS @
oe Be PDD BE DORA UT td Ve ee POS Sees BOAT ™

by / DUL 783 Tun

80/81/P0 ‘psaTseosy TTOS IX¥TIIeW

PSATSOOIZ se istseg UNTUCTUD WwapTeaexsy :aqATeuy

V9OTL Vdd ?STSATCUY QUVONWLs 7 $2909 lorg

GOH Law :dazd uUoTzBZOdTOD sun :4USeTTO

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80/T0/S0 O€LT 80/0E/F0 LOOLET 000°T dN S996EP2I0 MNWIG

B0/0C/FO O€SST 80/62/h0 909LET 000°T aN £996€R00 MNYTd

B80/8¢2/FO O£9T B0/LZ/F0 C6RLET o007T aN SBI6EPOO MNVTE
B0/L0/SO0 O£LL B0/0E/FO IT OT BO0/LT/¥0 LODLET o00°T GN €$0-96920¢ a'dhvs G-Ze-4
80/TO/GO0 OF! LT 80/0E/FO GTFOL 8O/LT/P0 LOOLET 0071 GN 260-969202 Z1dhws G*2-é2-4
80/TO0/G0 O€7LT B80/0E/FO ZTTOT B80/LT/P0 LOOLET o00°T aN 190-96920¢ WIdWvs g"0-z22-4
BO/TO/SO OE FLT SO/0E/PO ZPIOT 80/LT/PO LOOLET 000°T aN 060-969702 FIdWvs G-die-d
B80/TO/SO OETLT B8O/0E/P70 GEOL BO/LT/PO LOOLET 000°T an 6p0-96920¢ FIdNUS g*Z-d1¢-d
BO/TO/SO OEFLT 8O/0E/70 OF OT 8O/LT/10 LOOLET 000°T aN 8F0-96920¢ FIans G-1é-@
BO/TO/SO OEZLT BO/OE/70 BEFOT BO/LT/PO LOOLET Oo0"T aN LF0-969202 FIENys G*2-12Z-d
80/TO/SO OEILT 80/0£/PO SE'OT BO/LT/PO LOOLET o00°T aN 9F0-9697207 JIdWysS S°0-TZ-d
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80/10/SO0 O£FLT BO/OE/PO 6S:0T 8O/LT/PO LOOLET 000°T GN €F0-96920¢2 HIdWyS G°0-02-d
B80/T0/G0 O£€'LT BO/0E/7O GL=9L 80/21/70 LOSLET 000'F LT ZPO-96920¢ ATANWS $-8T-d
80/TO/SO GEFLT SO/OE/PO B0'9T BO/LT/PO LOOLET 000°T pz TrO-969202 ATdNVS S*¢-8T-d
B0/T0/S0 O€?4T BO/OE/PO LS?GT BO/LT/70 LODLET 000°T €£°O OFO-3969Z02 BIdnWvS S°0-81-4d
B80/T0/S0 O€7LT BO/0E/70 LOFGT BO/LT/70 LOSLET o000°T GN 6€0-96920Z2 STAINS G* 2-91-32
80/TO/SO O€FLT 80/08/70 PI:IT 80/LT/P0 LOOLET 000°T GN #g€0-9697202 aTdnws G-LT-@
B8O0/T0/SO OETLT BO/O0E/F7O ETFTL 8O/LT/FC LOOLET 000°T aN z£€0-969Z02 AIdWws S°Z-LI-4
BO/OE/70 OL2CT 80/62/70 ZTZTE 80/LT/FO 909LET 000°T aN 9£0-969¢02 ATdNVS S"O-L1~d
BO/0E/PO OEFST 90/62/70 LTZET 80/LT/FO 9OSLET 900°T qu S€0-969Z02 ATdWWS S-91-4
BO/OE/FO OF:S7T 80/62/b0 GOST B80/LT/ PO 909ZLET 000°T GN b&0-969¢02 AIdNWS G°Z-9T-4
BO/OE/FO OL7ST 80/62/00 LETSL BO/LLT/FO 909ZLET O00°T GN €£€0-96920¢ JTdWws G-ST-d
BO/OE/PO OF'ST 80/62/00 OF=ST 8O/LT/PO SO9LET Oo0'T L0°O c£0-96920¢2 AIdNYS g*Z-ST-d
B0/0€/FO OF:ST 80/62/F0 BZFST BO0/LT/F0 909LET ocd 'T £E°O TE0-969720¢2 BIdWWS S°0-ST-d
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COOLER RECEIPT CHECKLIST cb Curtis & Tompkins, Led.

Login# . DO2696 Date Received Y / ( g/ OX Number of coolers “L

Client URSA Project __ Wicks, fons Ine
Date Opened 4] % By (print) KWe Wend (sign) DY Moric.
ue

Date Logged in 4{/|4 By (print) (sign)
1. Did cooler come with a shipping slip (airbill, etc)?. 0.00.0... c0eccceccccecececseceseceees YES CN
Shipping info
2A. Were custody seals present? .... [J YES (circle) oncooler on samples EPRQ
How many Name _ Date__
2B. Were custody seals intact upon arrival? 20... .0000...ccecceeeceececcscenece, + YES NO QA
3. Were custady papers dry and intact when received?........-..c0cccecce00 J stereeeeeeen EES? NO.
4. Were custody papers filled out properly (ink, signed, etc)?.........0...00cecc--ee000 . CES NO
5. Is the project identifiable from custody papers? (If so fill out top of form).......... YES NO
6. Indicate the packing in cooler: (if other, describe)
(Bubble Wrap (Foam blocks [Bags  p&iNone
Tj Cloth material (] Cardboard (Styrofoam C Paper towels |
7, Ifrequired, was sufficient ice used? Samples should be < or =6°C ......../ AYES NO N/A
Type of ice used: WET [BLUE [INONE Temp(C)_3. 5 4.2°
[J] SAMPLES RECEIVED ON ICE DIRECTLY FROM FIELD. COOLING PROCESS HAD BEGUN.
8. Were soil Encore sampling devices present? .................ccccauececccssssssceesccceeses YES Re)
If YES, what time were they transferred to freezer?
9. Did all bottles arrive unbroken/unopened?,...0....0ceeeeecccceecssseeecasesececenseeses NO
10. Are samples in the appropriate containers for indicated tests? ...............2......... NO-
11. Are sample labels present, in good condition and complete? ............ cece eee eee ees NO
12. Do the sample labels agree with custody papers? ..........cccccceeececcesceeceseeeecoeee, NO
13. Was sufficient amount of sample sent for tests requested? ..........ccccceccsee cece cece
14, Are the samples appropriately preserved? «20.0... .-......c0cccccsececcececececeeee. YES No SS
15. Are bubbles absent in VOA samples? ....00....00000000ccccsceesececccceeeeeeeeene YES NO WA
16. Was the client contacted concerning this sample delivery?............ ek eeteseeeeeeeeeee YES NO
If YES, Who was called? By Date:
COMMENTS
’ SOP Volume: Client Services Rev: 4 Number | of 3
Section: 1.1.2 Effective: 06 March 2008

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APPENDIX 3

Data Quality Assessment
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ANALYTICAL DATA QUALITY ASSESSMENT
Wickes Forest Industries
April 2008

A. Data Quality Assessment

A total of 53 soil sampie were collected on 17 April 2008 at the Wickes Forest Industries site
according to the Remedial Investigation Workplan (URS, March 2008). The samples were submitted
to Curtis & Tompkins Ltd. laboratory in Berkeley, California for analysis of total arsenic, chromium,
and copper (SW6010B), and hexavalent chromium (SW7196A). Upon receipt of the analytical
reports, the data were reviewed for completeness and compliance with the laboratory contract scope
of work and the workplan.

This appendix is divided into three sections. The first section (A.1) presents information and
conclusions regarding field quality control samples. The second section (A.2) presents information
and conclusions regarding laboratory quality control samples, and the third section (A.3) summarizes
the overall assessment of data quality for this sampling event.

A.l__ Field Quality Control Sample Results
Field quality contro] samples (five field duplicate pairs) were collected in conjunction with soil

samples during the sampling event. Table A.1.1 summarizes the frequency and results of these field
QC samples. Table A.1.2 shows a comparison of the field duplicate results.
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Table A.1.1

SUMMARY OF FIELD QUALITY CONTROL SAMPLES
Wickes Forest Industries

Number Total Frequency | Frequency Summary of Impact on Samples
of Field Number of of QC Requirement | Data Quality
Qc Primary samples Issues
Collected Samples collected
Field Duplicates!
5 53 10% 10% None None

' See details in Table A.1.2.

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Table A.1,2
SUMMARY OF FIELD DUPLICATE RESULTS
Wickes Forest Industries

Sample ID: Date Analyte Estimated | Sample |Duplicate) RPD
Parent and | Collected |(only “hits” have been|Quantitiation| Results | Results
Duplicate reported) Limit
B-8-2,5/B-8D-2.5 04/17/08 Arsenic 0.25 mg/kg 170 110 43
Chromium 0.25 mg/kg 380 380 0
Copper 0.25 mg/kg 160 110 37
Hexavalent Chromium 0.05 mg/kg 4.6] 24] 63
B-8-5/B-8D-5 04/17/08 Arsenic 0.25 mg/kg 9.8 J 28 J 96
Chromium 0.25 mg/kg 210 190 10
Copper 0.25 mg/kg 22 J 40 J 58
Hexavalent Chromium | 0,25 mg/kg 16J 78d 69
B-16-2.5/B-16D-2.5 04/17/08 Arsenic 0.27 mg/kg 8.5 8.4 1
Chromium 0.25 mg/kg 25 24 4
Copper 0.27 mg/kg 24 26 3
B-21-2.5/B-21D-2.5 04/17/08 Arsenic 0.26 mg/kg 14 13 7
Chromium 0.25 mg/kg 96 81 17
Copper 0.26 mg/kg 29 26 11
B-21-5/B-21D-5 04/17/08 Arsenic 0.27 mg/kg 6.9 74
Chromium 0.25 mg/kg 26 25 4
Copper 0.27 mg/kg 22 22
Note Bold analyte RPDs exceed the field duplicate criterion of 50% for soil samples.
RPD Relative Percent Difference

<5X EQL Duplicate pair results less than 5 times the estimated quantitation limit with no dilution. Imprecision is
common for results near the quantitation limit.

A.2._ Laboratory Quality Control Results

This project requires the following laboratory QC analyses at a minimum for most
analyses: one method blank and laboratory control sample (LCS) or blank spike with a
duplicate per analytical or preparation batch, per sample matrix. Tables A.2.1 through
A.2.2 summarize the frequency and results of the laboratory QC and the impact of QC
outliers on project data.
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Table A.2.1

SUMMARY OF LABORATORY QUALITY CONTROL SAMPLES

Method SW6010B Total Arsenic, Chromium, and Copper
Wickes Forest Industries

Total Frequency | Frequency Summary of Impact on
Number of | Number of | Performed Requirement | Data Quality Project
QC Samples Primary by Lab Issues Samples
Samples
Method Blanks
. 1 per 1 per
3 3 preparation preparation None None
batch/matrix | batch/matrix
Blank Spike Samples
1 per 1 per
3 3 preparation preparation None None
batch/matrix | batch/matrix
Matrix Spike/Matrix Spike Duplicate Pair
None. The results
1 per 1 per ee d “suits for As and Cr in
3 3 preparation preparation or . uh min sample B-1-2.5
batch/matrix | batch/matrix Batch #137387 were > 4x spike

not calculated

concentrations

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Table A.2.2

SUMMARY OF LABORATORY QUALITY CONTROL SAMPLES
Method SW7196A Hexavalent Chromium

Wickes Forest Industries

Total Frequency | Frequency Summary of Impact on
Number of | Number of | Performed Requirement | Data Quality Project
QC Samples Primary by Lab Issues Samples
Samples
Method Blanks
1 per 1 per
3 3 preparation preparation None None
batch/matrix | batch/matrix
Laboratory Control Samples
1 per 1 per
3 3 preparation preparation None None
batch/matrix | batch/matrix
Matrix Spike/Matrix Spike Duplicate Pair
The result for
The RPD sample B-12-
1 per 1 per exceeds the lab 25.00 007 J
3 3 preparation preparation control limit in mg/ : Oth
batch/matrix | batch/matrix | sample B-12-2.5, | ®Stimated. Other

Batch #137606

results in Batch
#137606 are not
affected

A.3 Overall Summary of Data Quality

The following data quality issues that may affect the data quality of the Wickes Forest
Industries soil samples were identified from the laboratory reports.

Chain-of-Custody Records

e There were no chain-of-custody issues.

CAM17 Metals by SW6010B

e The RPDs between field duplicate pair B-8-5/B-8D-5 results for arsenic (96%) and
copper (58%) exceed the project RPD goal of 50% for soil samples. The arsenic and
copper results in the duplicate pair B-8-5/B-8D-5 should be considered estimated (J).
No further data qualification based on duplicate imprecision appears warranted based
on the heterogeneous nature of the matrix.

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e The RPDs for arsenic and chromium in the MS/MSD pair based on sample B-1-2.5
was not calculated because the sample result was greater than four times (4x) the spike
concentration. The matrix effects for arsenic and chromium in batch #137387 samples
could not be determined, but no data qualification is necessary.

e Based on the information provided, there are no limitations on the arsenic, chromium,
and copper data,

Hexavalent Chromium by SW7196A

e The hexavalent chromium RPDs between field duplicate pairs B-8-2.5/B-8D-2.5
(63%) and B-8-5/B-8D-5 (69%) results for exceed the project RPD goal of 50% for
soil samples. The hexavalent chromium results in the duplicate pairs B-8-2.5/B-8D-
2.5 and B-8-5/B-8D-5 should be considered estimated (J). No further data
qualification based on duplicate imprecision appears warranted based on the
heterogeneous nature of the matrix.

e The RPD of 29 in the MS/MSD pair based on sample B-12-2.5 exceeded the
laboratory control limit of 28. The result of 0.07 mg/kg in sample B-12-2.5 is
estimated (J) due to potential matrix interference, but no further data qualification in
batch #137606 appears warranted.

* Based on the information provided, there are no additional limitations on the
hexavalent chromium data.

Overall, the data are useable for decision-making purposes.
